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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

JOSEPH D. STERN,
               Plaintiff,
       v.
GLOBUS MEDICAL, INC.,                       Case No. 1:16-cv-00091-RGA
               Defendant.
                                            JURY TRIAL DEMANDED




                            JOINT CLAIM CONSTRUCTION BRIEF



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        In accordance with the Court’s Scheduling Order dated September 9, 2017 (Dkt. 17), the

parties hereby presents their Joint Claim Construction Brief.

I.      INTRODUCTION.

        A.      Stern’s Introduction

        The patents-in-suit relate to cervical plate systems, and more specifically, to cervical

plates that are designed to allow subsequent revision surgeries without disturbing the originally-

installed (or “primary”) cervical plate.

        Dr. Stern has been a practicing neurosurgeon since 1995. He has performed numerous

surgeries requiring anterior cervical plates. Sometimes, after having an anterior cervical plate

implanted, a patient requires a revision surgery, to address issues with additional levels of the

spine. Having seen firsthand the impact revision surgery can have on a patient where an existing,

implanted plate is typically removed and replaced with a larger plate (covering additional levels

of the spine), in late 2004 Dr. Stern conceived of the idea for a Revisable Anterior Cervical

Plating System that would reduce trauma to the patient when surgery was necessary.

        Dr. Stern invented a plating system where the primary plate is specifically designed to

allow it to connect to a revision plate. Important in his invention was designing a primary plate

to be able to later receive a revision plate, and for the revision plate to attach to the primary plate,

without having to move or remove the primary plate, or even remove the fasteners holding the

primary plate in place. Instead of having to remove the already installed primary plate, and

replace it with a different plate, Dr. Stern’s invention would allow the surgeon to use a primary

plate specifically designed to cooperatively engage with a revision plate.

        Dr. Stern’s invention provides patients with a long-term solution; if a revision surgery is

necessary, it can be performed with no disruption of the primary plate, therefore minimizing




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trauma to the patient. As the provisional patent application states: “The current invention is

directed to an improved anterior cervical plate that allows a new plate to be attached to the prior

plate, so that the old plate does not have to be removed.” Provisional Application 60/680,728

(“Provisional”) at 1:25-28 (attached to previously-filed Joint Claim Construction Chart (D.I. 39)

as Exhibit C).

       Dr. Stern filed a patent application on his invention on May 12, 2005 (the above-

referenced provisional patent application). Following his initial filing, he filed an ordinary utility

application claiming priority back to the provisional application, and subsequently filed a

number of continuation applications. Dr. Stern has numerous granted patents covering his

invention. Two of his patents are in this lawsuit: U.S. Pat. Nos. 8,556,895 (“the ‘895 patent”)

and 8,858,556 (“the ‘556 patent”). Dr. Stern also has additional patents (e.g., U.S. Pat. Nos.

8,070,749 and 9,095,381) with claims directed to different embodiments not at issue in this

litigation. Dr. Stern also has a number of pending continuation applications, which are expected

to issue soon, and may become relevant to this litigation.



       B.        Globus’ Introduction

       Occasionally ignored, but more often only cursorily addressed is the fundamental

question of “what’s the invention.” Here, the ‘895 Patent specification is clear and unequivocal

on the inquiry1:

               Although the figures and following discussion will provide a detailed
       description of a number of exemplary embodiments of the cervical plate system of
       the current invention, it should be understood that any number of designs can be
       used to achieve the basic goal of the system. For example, in their basic form each
       of the exemplary plating systems include an existing plate and a revision plate

1
  The parties agreed as noted in Plaintiff’s Opening Position (section IV.1.b), p. 7), that citations
to the “specification” would be tethered to the ‘895 Patent specification.


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       each designed to be anchored to a vertebral bone through a vertebral anchoring
       means, such as, a connecting screw. A characteristic feature of this plate system is
       that each of the revision plates includes an interlocking portion that provides a
       linkage between the plates. The linkage can be either flexible or rigid, of any
       suitable design such that the two plates can be lockingly connected without
       removal of the existing plate. These linkages in turn can be locked rigidly
       between the plates (in a so-called fixed system), or can be allowed to travel to a
       limited degree to allow for settling (in a so-called dynamic system). The choice of
       whether to use a fixed or dynamic system is left to the surgeon.

D.I. 39, Exhibit A - ‘895 Patent, Col. 4, line 65-Col. 5, line 16 (emphasis added)

                                                  ***
               Regardless of the ultimate design, both the original and the revision plates
       of the current invention are constructed as an integrated plate system such that the
       interlocking portion of the revision plate cooperates with the base interlocking
       portion of the original plate. These interlocking portions have coordinating
       surfaces that lock the two plates together and provide torsional stability to and
       between the plates in at least one dimension that is independent of the connecting
       screws.
               Several variants of this basic design are shown in FIGS. 1 to 16, all of
       which incorporate the basic innovation of having a linkage system that both
       allows a new plate to be securely fixed to a preexisting plate and has coordinating
       surfaces between the old and new plates that when combined provide stability to
       and between the plates independent of the vertebral connecting screws.

D.I. 39, Exhibit A - ‘895 Patent, Col. 5, lines 38-44 (emphasis added)


       In his Introduction, Plaintiff ignores the clear and concise language noted above in favor

of the following:

       Dr. Stern’s invention provides patients with a long-term solution; if a revision
       surgery is necessary, it can be performed with no disruption of the primary plate,
       therefore minimizing trauma to the patient. As the provisional patent application
       states: “The current invention is directed to an improved anterior cervical plate
       that allows a new plate to be attached to the prior plate, so that the old plate does
       not have to be removed.” Provisional Application 60/680,728 (“Provisional”) at
       1:25-28 (attached to previously-filed Joint Claim Construction Chart (D.I. 39) as
       Exhibit C).

Section I.A., pp. 1-2




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       Plaintiff’s citation to Provisional Application No. 60/680,728 is a transparent attempt to

walk away from the clear disclosure in the ‘895 Patent specification, by rewriting the asserted

claims to remove the requirement of locking. As noted in the ‘895 Patent specification, however,

regardless of the ultimate design “both the original and the revision plates of the current

invention are constructed as an integrated plate system such that the interlocking portion of the

revision plate cooperates with the base interlocking portion of the original plate. These

interlocking portions have coordinating surfaces that lock the two plates together and provide

torsional stability to and between the plates in at least one dimension that is independent of the

connecting screws.” D.I. 39, Exhibit A, ‘895 Patent, Col. 5, lines 30-37 (emphasis added)



II.    PATENTS-IN-SUIT

       The patents-in-suit are:

       A.      U.S. Pat. No. 8,556,895 (“the ‘895 patent”), a copy of which is attached to the

               previously-filed Joint Claim Construction Chart (D.I. 39) as Exhibit A;

       B.      U.S. Pat. No. 8,858,556 (“the ‘556 patent”), a copy of which is attached to the

               previously-filed Joint Claim Construction Chart (D.I. 39) as Exhibit B.



III.   LAW OF CLAIM CONSTRUCTION

       Per the Court’s Scheduling Order dated September 9, 2017 (D.I. 17), the parties have

omitted a summary of the general law relating to claim construction.




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IV.     DETERMINING THE MEANING OF THE ASSERTED CLAIMS.

        In order to determine the meaning of the asserted claims, one must consider the

qualifications of a person of ordinary skill in the art.

        A.      Qualifications of Person of Ordinary Skill in the Art

                1.      Stern’s Position

        In this case, the relevant art is spinal implants, and more specifically, cervical plates. A

person of ordinary skill in the art would be a surgeon familiar with cervical plates by way of

having performed surgery using such plates, or an engineer with experience designing such

plates. Plaintiff contends that the qualifications of a person of ordinary skill in the field of

cervical plates is either: 1) a neurosurgeon with at least 4 years’ experience in spinal surgery,

and particularly, installing cervical plates; or 2) an engineer with a mechanical engineering

degree, biomedical engineering degree or equivalent, and at least 4 years’ experience working in

the field of cervical plates and spinal implants. (Substantial additional work experience could be

substituted for the formal engineering degree).

                2.      Globus’ Position

        A person having ordinary skill in the art would have a Bachelor's or equivalent degree in

Mechanical Engineering or a related discipline (e.g. biomechanics or biomedical engineering),

and at least five years of experience. The experience would consist of a) designing, developing,

evaluating and/or using prosthetic devices, b) anatomy, physiology and biology of soft and

calcified tissues including bone healing and fusion, and c) biomechanical and functional loading

of orthopedic implants.     Alternatively, a person of ordinary skill in the art could have an

advanced degree, in the technical disciplines provided above, or a Doctor of Medicine, and at

least two years of experience in the subject areas provided above. Alternatively, a person of




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ordinary skill in the art could have an advanced degree, in the technical disciplines provided

above, or a Doctor of Medicine, and at least two years of experience in the subject areas

provided above.



V.     AGREED CONSTRUCTIONS

       The parties agree on the following constructions:

               1.      “armature” – an arm

               2.      “pre-positioned” – pre-installed

               3.      “configured to” – designed to

               4.      “adapted to” – designed to


VI.    DISPUTED CONSTRUCTIONS

       The parties do not agree on the proper construction of the following terms, and request

that the Court construe them.

               1.      Term: “interlocking portion”

                       a)       Location in Claims

       ‘895 Patent - Claims 1-3 and 18-21

       ‘556 patent - Claims 1-3, 18-20, 28, 34-36, 42-43, 50-51, 58-59, 66-67, and 73-74

                       b)       Stern’s Opening Position

       “a part of a cervical plate that connects to a mating part of another plate, such as the

cooperative interlocking portion of a revision plate”

       The phrase “interlocking portion” is used consistently in the claims and the specification

to identify a particular part of a cervical plate. See generally ‘895 Patent (D.I. 39, Ex. A) at

Abstract, 1:59-2:12; 2:15-38; 5:2-15; 5:30-37; 5:45-51; 6:24-31; 8:23-38; see also Figs. 1-4, 7



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(because the patents-in-suit share a common specification, for convenience, all citations to the

“specification” are to the specification of the ‘895 Patent). “Interlocking portion” describes one

of the two parts that attach to one another to provide a “stabilizing interconnection.” The

“interlocking portion” describes part of a cervical plate, while the “cooperating interlocking

portion” describes a part of a revision cervical plate. The respective “portions” are designed to

connect with, or engage one another. These portions, or parts, are what allow “a new plate to be

attached to the prior plate.” Provisional (D.I. 39, Ex. C) at 1:25-28; see also ‘895 Patent (D.I. 39,

Ex. A) at 1:59-61. This capability is similarly described as “allowing a new plate to be securely

fixed to a preexisting plate.” Provisional (D.I. 39, Ex. C) at 3:4-5; see also ‘895 Patent (D.I. 39,

Ex. A) at 5:40-41 (“allows a new plate to be securely fixed to a preexisting plate”). The

specification also describes these parts as cooperatively engaging with one another: “Regardless

of the actual design of the interlocking portions, each of the base interlocking portions is

designed to cooperatively engage each of the cooperative interlocking portions to provide a

stabilizing interconnection between two adjacent plates, the stabilizing interconnection being

capable of resisting movement of the adjacent cervical plates in at least one dimension, and

wherein the operation of said stabilizing interconnection is independent of the operation of the

vertebral anchoring means.” ‘895 Patent (D.I. 39, Ex. A) at 2:3-11. These descriptions of two

plates being “attached” or “securely fixed” to one another, and “designed to cooperatively

engage” with one another are consistent with the overall description that the “interlocking

mechanism” integrated into the two plates allow a revision plate to be “interconnected” with an

existing cervical plate. Id. at Abstract.

       The specification describes several manifestations of an “interlocking portion”

connecting to a “cooperative interlocking portion.” In one example, the “interlocking portion” of




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the primary plate is a channel formed in the plate. This “interlocking portion” engages with a

cooperative armature on the revision plate, which forms the “cooperative interlocking portion.”

Id. at 2:15-20. This connection between the mating parts is also described as a linkage between

the plates. (“A characteristic feature of this plate system is that each of the revision plates

includes an interlocking portion that provides a linkage between the plates.” Id. at 5:6-9.) The

plates “hav[e] a linkage system that both allows a new plate to be securely fixed to a preexisting

plate and has coordinating surfaces between the old and new plates that when combined provide

stability to and between the plates independent of the vertebral connecting screws.” Id. at 5:39-

44. These “coordinating surfaces” are the interlocking portion (of the “old” plate) and the

cooperative interlocking portion (of the “new” or revision plate). In another example, the

specification describes the “interlocking portions” as “linkages and coordinating surfaces,”

which refers to an embodiment with a “dovetail slider” type design, where a linkage such as an

arm is received by a coordinating surface, such as a groove. See id. at 5:45-46; see also id. at

Figs. 1-4, 7. In yet another example, the “interlocking portion” is a channel along the

longitudinal axis of the cervical plate that is “combined” or connects with the mating part of an

arm (the cooperative interlocking portion) of the revision plate. See id. at 8:23-38; see also id. at

Fig. 7. As shown above, the intrinsic evidence supports Stern’s construction that an

“interlocking portion” is “a part of a cervical plate that connects to a mating part of another plate,

such as the cooperative interlocking portion of a revision plate.”

                       c)      Globus’ Answering Position

       Plain and ordinary meaning or to the extent construction is necessary: a part of a
       cervical plate that locks to a mating part of another plate.

       The starting point for the analysis of “interlocking portion” is with the asserted claims.

The term “interlocking portion” is consistently used in the claims of the ‘895 and ‘556 Patents.



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See, for example, Exs. A and B to the Joint Appendix.2

       The term “interlocking portion” is a simple, non-technical term that means what it says.

There is no ambiguity and no disavowal in the ‘895 Patent specification or the file histories for

the ‘895 and ‘556 Patents. A person of ordinary skill in the art and for that matter a lay person

knows and understands what the term means.

       Defendant’s position is confirmed by Plaintiff’s favored Figs 1-4 and 7 (section VI.1.b),

pp. 6-8 and the Joint Claim Construction Chart at D.I. 39, p. 2) and by the following exemplar

excerpt from the ‘895 Patent specification:

               Regardless of the ultimate design, both the original and the revision plates
       of the current invention are constructed as an integrated plate system such that the
       interlocking portion of the revision plate cooperates with the base interlocking
       portion of the original plate. These interlocking portions have coordinating
       surfaces that lock the two plates together and provide torsional stability to and
       between the plates in at least one dimension that is independent of the connecting
       screws.

D.I. 39, Exhibit A - ‘895 Patent, Col. 5, lines 30-37 (emphasis added)3

       In contrast, Plaintiff through disjointed citations in his Opening Position, gives

“interlocking portion” a meaning that is divorced from the words of the disputed term, the

context of the asserted claims and the ‘895 Patent. More particularly, Plaintiff seeks to remove

“inter” and “locking” from the disputed term “interlocking portion.”        For example, in his

Opening Position, Plaintiff rewrites “interlocking portion” as follows: a part of a cervical plate

that connects to a mating part of another plate, such as the cooperative interlocking portion of a


2
  Joint Appendix, Exhibits A and B contain the asserted claims for the ‘895 Patent and the ‘556
Patent, respectively.
3
  A court considers the written description “because it is relevant not only to aid in the claim
construction analysis, but also to determine if the presumption of ordinary and customary
meaning is rebutted.” Brookhill-Wilk 1, LLC v. Intuitive Surgical, Inc., 334 F.3d 1294, 1298
(Fed. Dir. 2003) (quoting Interactive Golf Express, Inc., v. Coompuserve, Inc., 256 F.3d 1323,
1331 (Fed. Cir. 2001). The specification is usually “the single best guide to the meaning of a
disputed term.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).

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revision plate.    Plaintiff’s construction, by definition, is incorrect in that it removes the

requirement of “locking” from the term “interlocking.”4 “Interlocking portion” means exactly

what it says. It takes its plain and ordinary meaning.

         If this Court chooses however to construe “interlocking portion,” the only construction

supported by the asserted claims and the ‘895 Patent specification is Defendant’s alternate

construction, that being a part of the cervical plate that locks to a mating part of another

plate.    This construction is in harmony with the asserted claims and the ‘895 Patent

specification, in that for example it preserves the requirement of “locking.” Taken as a whole,

“interlocking portion” translates perfectly in view of the asserted claims and ‘895 Patent

specification to: a part of the cervical plate that locks to a mating part of another plate.

         Additionally, Plaintiff’s citation in his Opening Position and in the Joint Claim

Construction Chart to his favored Figs. 1-4 and 7 supports Defendant’s alternate construction.

More particularly, from the ‘895 Patent specification the “construct” shown in Figures 1-4 and 7,

results in the plates being locked to provide torsional stability in at least one direction. See for

example, the highlighted portions of Figures 1-4 and 7 as follows:




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 Despite Plaintiffs position on claim construction, he uses the term “interlocking portion” in his
claim construction.


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D.I. 39, Exhibit A – ‘895 Patent at Sheets 1, 4-6, 8 and 12 of 43.

       The corresponding description for Figs. 1-4 and 7 depicted above, further describes the

requirement of “locking.” See for example, D.I. 39, Exhibit A, ‘895 Patent at Fig. 1, Col. 5, line

59-Col. 6, line 4, and Col. 7, lines 21-26; Fig. 2, Col. 24-39 and Col. 7, lines 21-26; Fig. 3, Col.

6, line 54-Col. 7, line 3 and Col. 7, lines 21-26; Fig. 4, Col. 7, lines 21-33; and Fig. 7, Col. 8,

lines 26-38).




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       In conclusion, “interlocking portion” takes is plain and ordinary meaning, or in the

alternative, takes the meaning of: a part of the cervical plate that locks to a mating part of

another plate.

                       d)      Stern’s Reply Position

       “a part of a cervical plate that connects to a mating part of another plate, such as the

cooperative interlocking portion of a revision plate”

       Globus equates “interlocking” with “locking.” If those two terms had the same meaning,

there would be no need to construe “interlocking portion.” But they do not have the same

meaning. Specifically, the patents-in-suit identify the interlocking portion as cooperatively

engaging, or being securely fixed to the mating part of another cervical plate. This supports

Stern’s construction of “interlocking portion” as “a part of a cervical plate that connects to a

mating part of another cervical plate….” The patents also provide specific examples: the

interlocking portion connects to the cooperative interlocking portion, which is the example

included in Stern’s construction.

       The real difference in the parties’ proposed construction is whether the two mating

portions connect together or lock together. First, “lock” typically has a connotation of

completely preventing movement in all directions, which would mean not allowing the mating

portions to move with respect to one another. However, the `895 Patent discloses that while

these mating portions attach, engage or connect to one another, they can also be taken apart. The

examples in the figures show that the plates can be moved toward each other to disengage. The

term “lock” in the patent means to prevent movement in at least one direction, or “to provide

torsional stability in at least one direction,” but the jury may be misled by the colloquial meaning

or typical connotation of lock, and impart a meaning different than described in the patent. The




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patent also describes embodiments with elastic band or buttress-fit connections, which also

contain interlocking and cooperative interlocking portions. Globus’s construction would not

apply to these embodiments, and would therefore require multiple constructions for the same

term. Globus’s construction is improperly reading in limitations from a particular embodiment,

and a construction that does not cover all embodiments is incorrect.

       Globus argues that Stern is attempting to “walk away” from the disclosure of the `895

Patent by citing to the Provisional for the statement that “[t]he current invention is directed to an

improved anterior cervical plate that allows a new plate to be attached to the prior plate, so that

the old plate does not have to be removed.” Provisional (D.I. 39, Ex. C) at 1:25-28. Yet the

Provisional application is explicitly incorporated by reference, and in addition, that same

statement is explicitly made in the `895 Patent as well: “The current invention is directed to an

improved anterior cervical plate that allows a new plate to be attached to the prior plate, so that

the old plate does not have to be removed.” `895 Patent (D.I. 39, Ex. A) at 1:59-61; see also

4:61-64, with similar statement of purpose: “The current invention is directed to an improved

revisable anterior cervical plate system that allows for a new plate to be attached and integrated

into the prior plate, such that the old plate does not have to be removed during a revision

surgery.” Stern is not attempting to circumvent the disclosure of the ‘895 Patent specification,

but instead is pointing out the consistent disclosure across the Provisional and the patents-in-suit

that the invention allows for a revision plate to be attached to an existing plate.

       Stern’s construction is also consistent with all the figures cited by Defendant. On the

other hand, Defendant’s construction admittedly only applies to certain claims and embodiments,

and is intentionally too narrow to cover all the embodiments of the patent. Thus Defendant’s

construction is improperly importing limitations from specific embodiments into the claims,




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thereby unduly narrowing the meaning of the claim terms. Defendant requires that the mating

surfaces lock together, even though the patent explicitly discloses that they can “attach” or

“engage,” yet still allow movement to decouple the mating pieces. Adopting such a construction

would not assist the jury or simplify understanding of the claim, as the jury is likely to import the

connotation of “lock” that requires restriction of all movement, and not the meaning of “lock” as

used in the patent, which Defendant admits means “to provide torsional stability in at least one

direction.” Thus, “connect” is more accurate than “lock,” and is consistent with the

specification’s description of the mating portions attaching and engaging with each other.

                       e)      Globus’ Sur-Reply Position

       Plain and ordinary meaning or to the extent construction is necessary: a part of a
       cervical plate that locks to a mating part of another plate.

       Plaintiff’s position on “interlocking portion” ignores the fundamental tenet of claim

construction that proper claim construction begins with the language of the claims. See Vitronics

Corp. v. Conceptronic, Inc., 90 F. 3d 1576, 1582 (Fed. Cir. 1996). “In construing claims, the

analytical focus must begin and remain centered on the language of the claims themselves, for it

is that language that patentee chose to use to particularly point [ ] out and distinctly claim [ ] the

subject matter which the patentee regards as his invention. 35 U.S.C. § 112, § 2.” Brookhill-

Wilk 1, LLC v. Intuitive Surgical, Inc., 334 F. 3d 1294, 1298 (Fed. Cir. 2003) (quoting

Interactive Gift Express, Inc. v. Compuserve, Inc., 56 F. 3d 1323, 1331 (Fed. Cir. 2001) (internal

quotes omitted))(emphasis added).

       Plaintiff’s claim construction ignores its chosen term, a term it relied on in prosecution, in

favor of a rewrite that drops “inter” and “locking” from the term “interlocking.” Plaintiff’s claim

construction further ignores the fact that each and every asserted independent claim carries the




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term “interlocking,” a term that takes its support from the specification, including Plaintiffs

favored Figs 1-4 and 7, as further highlighted by Plaintiff’s own words which are as follows:

               Regardless of the ultimate design, both the original and the revision plates
       of the current invention are constructed as an integrated plate system such that the
       interlocking portion of the revision plate cooperates with the base interlocking
       portion of the original plate. These interlocking portions have coordinating
       surfaces that lock the two plates together and provide torsional stability to and
       between the plates in at least one dimension that is independent of the connecting
       screws.

              Several variants of this basic design are shown in FIGS. 1 to 16, all of
       which incorporate the basic innovation of having a linkage system that both
       allows a new plate to be securely fixed to a preexisting plate and has coordinating
       surfaces between the old and new plates that when combined provide stability to
       and between the plates independent of the vertebral connecting screws.

D.I. 39, Exhibit A - ‘895 Patent, Col. 5, lines 30-37 (emphasis added).

       Plaintiff further ignores the fact that claim construction is not conducted in a vacuum.

For example, all independent claims of the ‘895 Patent and independent claims 22, 28, 36, 44,

52, 60, 68 of the ‘566 Patent require interlocking between the pre-positioned cervical plate and

the revision cervical plate that results in “permanently securing” the plates.5,6 Exhibits A and B

to the Joint Appendix.

       Plaintiff further ignores the fact that its favored Figures 1-4 and 7 are directed to a fixed

rather than dynamic system. Plaintiff’s Introduction highlights this distinction by noting that

“Dr. Stern also has additional patents (e.g., U.S. Pat. Nos. 8,070,749 and 9,095,381) with claims

directed to different embodiments not at issue in this litigation.” (Emphasis added) (Section I.A.,

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  The requirement of “permanently securing” was added during the prosecution of the ‘895
Patent to overcome a prior art challenge. See the Joint Appendix at Exhibit L, ‘895 Patent File
History, Response to Final Office Action dated 4/12/2013, pp. 2, 5, and 7-8; Exhibit M,
Advisory Action dated 5/10/2013, p. 2; and Exhibit N, Response to Advisory Action dated
5/28/2013, pp. 2, 5-6 and 7-8.
6
   Remaining asserted independent claims 1 and 20 of the ‘556 Patent requires that the
interconnection “is capable of resisting movement” and independent claims 75 and 76 are
method claims that are “means” based. Joint Appendix, Exhibit B.


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p. 2)   In addition to and contra to the position taken by Plaintiff in Plaintiff’s Reply Position,

none of the asserted claims read on “elastic bands” (Joint Appendix, Exhibits A and B) and

Plaintiff dismissed, with prejudice, the ‘381 patent (D.I. 40) and the corresponding charge of

infringement based on “buttress-fit connections.”

        Simply put, contra to Plaintiff’s baseless attack, one does not read limitations into the

claim when one cites to the claim term as supported by the specification and adopts, wholesale,

the plain and ordinary meaning or in the alternative, the meaning that naturally flows from the

claim term as supported by the intrinsic evidence: a part of a cervical plate that locks to a

mating part of another plate.



               2.       Term: “cooperative interlocking portion”

                        a)     Location in Claims

        ‘895 Patent: Claims 1 and 18-21

        ‘556 Patent: Claims 1, 18-20, 22, 28, 29, 34-38, 40, 42-46, 48, 50-52, 56, 58-62, 64, 66-

        71, and 73-76

                        b)     Stern’s Opening Position

        “a part of a revision cervical plate that connects with a mating part of another plate,

such as the interlocking portion of a cervical plate”

        This term literally fits together with the first term “interlocking portion.” As described in

part above, the “cooperative interlocking portion” is a part of the revision plate that connects

with a mating part of a primary plate (the “interlocking portion”), to form a stabilizing

interconnection. The respective “coordinating surfaces” of the interlocking portions and

cooperative interlocking portions connect or combine with one another to provide the stabilizing




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interconnection. See e.g., ‘895 Patent (D.I. 39, Ex. A) at 5:30-37; 8:23-38. As noted above, it is

the “cooperative interlocking portion” of the revision plate, connecting with the mating

“interlocking portion” of the cervical plate, that allow the two plates to be “attached” or

“securely fixed” to one another. Id. at 1:59-61; Provisional (D.I. 39, Ex. C) at 3:4-5. In one

example, the “cooperative interlocking portion” is an arm on the revision plate that connects with

a mating part of a channel (the interlocking portion) along the longitudinal axis of the cervical

plate. See ‘895 Patent (D.I. 39, Ex. A) at 8:23-38; see also id. at Fig. 7.

       Both the language of the relevant claims, as well as the discussion in the specification

support Stern’s proposed construction that the “cooperative interlocking portion” is “a part of a

revision cervical plate that connects with a mating part of another plate, such as the interlocking

portion of a cervical plate.”

                       c)       Globus’ Answering Position

       Plain and ordinary meaning or to the extent construction is necessary: a part of a
       revision cervical plate that locks with a mating part of another plate.

       In construing “cooperative interlocking portion,” the same logic and reasoning applies as

for the disputed term “interlocking portion.” More particularly, in the ‘895 Patent specification

“cooperative interlocking portion” is described as follows:

               In such an embodiment the base interlocking portion is designed to engage
       a revision cervical plate, the revision cervical plates having its own vertebral
       anchoring means, an additional integrated base interlocking portion and an
       additional integrated cooperative interlocking portion. Regardless of the actual
       design of the interlocking portions, each of the base interlocking portions is
       designed to cooperatively engage each of the cooperative interlocking portions to
       provide a stabilizing interconnection between two adjacent plates, the stabilizing
       interconnection being capable of resisting movement of the adjacent cervical
       plates in at least one dimension, and wherein the operation of said stabilizing
       interconnection is independent of the operation of the vertebral anchoring means.

D.I. 39, Exhibit A - ‘895 Patent, Col. 1, line 65-Col. 2, line 12 (emphasis added)
                                                ***



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               Although the figures and following discussion will provide a detailed
       description of a number of exemplary embodiments of the cervical plate system of
       the current invention, it should be understood that any number of designs can be
       used to achieve the basic goal of the system. For example, in their basic form each
       of the exemplary plating systems include an existing plate and a revision plate
       each designed to be anchored to a vertebral bone through a vertebral anchoring
       means, such as, a connecting screw. A characteristic feature of this plate system is
       that each of the revision plates includes an interlocking portion that provides a
       linkage between the plates. The linkage can be either flexible or rigid, of any
       suitable design such that the two plates can be lockingly connected without
       removal of the existing plate. These linkages in turn can be locked rigidly
       between the plates (in a so-called fixed system), or can be allowed to travel to a
       limited degree to allow for settling (in a so-called dynamic system). The choice of
       whether to use a fixed or dynamic system is left to the surgeon.

D.I. 39, Exhibit A - ‘895 Patent, Col. 4, line 65-Col. 5, line 16 (emphasis added)

                                              ***
               Regardless of the ultimate design, both the original and the revision plates
       of the current invention are constructed as an integrated plate system such that the
       interlocking portion of the revision plate cooperates with the base interlocking
       portion of the original plate. These interlocking portions have coordinating
       surfaces that lock the two plates together and provide torsional stability to and
       between the plates in at least one dimension that is independent of the connecting
       screws.

              Several variants of this basic design are shown in FIGS. 1 to 16, all of
       which incorporate the basic innovation of having a linkage system that both
       allows a new plate to be securely fixed to a preexisting plate and has coordinating
       surfaces between the old and new plates that when combined provide stability to
       and between the plates independent of the vertebral connecting screws.

D.I. 39, Exhibit A - ‘895 Patent, Col. 5, lines 30-44 (emphasis added)

       Plaintiff’s construction in contrast to what is described as noted above in the ‘895 Patent

specification, removes “cooperative” and “locking” from “cooperative interlocking portion,” in

favor of a definition that ignores the asserted claims and the ‘895 Patent specification. More

particularly, Plaintiff’s construction for the disputed term “cooperative interlocking portion” is as

follows: a part of a revision cervical plate that connects with a mating part of another plate, such




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as the interlocking portion of a cervical plate.7 Once again, Plaintiff’s construction of the

disputed term removes the requirement of “locking.” “Cooperative interlocking portion” takes

its plain and ordinary meaning.

       To the extent that this court seeks to construe “cooperative interlocking portion,” the

alternate construction advocated by Defendant is and in harmony with the asserted claims and

the ‘895 Patent specification, that being a part of a revision cervical plate that locks with the

mating part of another plate. As noted in the discussion section on “interlocking portion,”

Defendant’s alternate construction is consistent with the asserted claims, the ‘895 Patent

specification and Plaintiff’s favored cited Fig. 1-4 and 7, as highlighted and supported by citation

to the ‘895 patent specification. Section VI.1.c), pp. 8-12.

       In conclusion, “cooperative interlocking portion” takes is plain and ordinary meaning, or

in the alternative, takes the meaning: a part of a revision cervical plate that locks with the

mating part of another plate.

                       d)     Stern’s Reply Position

       “a part of a revision cervical plate that connects with a mating part of another plate,

such as the interlocking portion of a cervical plate”

       For the same reasons as stated above with respect to “interlocking portion,” Stern’s

construction should be adopted. Defendant’s construction of “cooperative interlocking portion”

intentionally excludes embodiments described in the specification and shown in the figures, and

improperly reads limitations from specific embodiments into the claims. The dispute is again,

over whether the mating parts must always lock, or if they simply connect, attach or engage as

described in the specification and shown in the figures. While the patent in some instances uses


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 As with the construction of “interlocking” Plaintiff’s construction of “cooperative interlocking
portion” uses “interlocking portion” in its construction.


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the word “lock,” it is with the meaning of restricting movement in one direction (and allowing

movement in other directions). In addition, the patent describes the mating pieces as attaching or

engaging with one another. To require this to be “locking” ignores the explicit disclosure of the

specification, and improperly reads limitations from specific embodiments into all claims. For

these reasons, and those stated more fully above, the use of “lock” in the construction is

inaccurate, and likely to confuse and mislead the jury, and Stern’s construction should be

adopted.

                       e)     Globus’ Sur-Reply Position

       Plain and ordinary meaning or to the extent construction is necessary: a part of a
       revision cervical plate that locks with a mating part of another plate.

       Plaintiff’s position on “cooperative interlocking portion” is flawed for the same reasons

noted concerning its position on “interlocking portion.” As with “interlocking portion,” Plaintiff

favors a rewrite that drops “cooperative,” “inter” and “locking” from “cooperative interlocking

portion.” The term “cooperative interlocking portion” takes its plain and ordinary meaning or as

supported by the specification, means a part of a revision cervical plate that locks with a

mating part of another plate.



               3.      Term: “stabilizing interconnection”

                       a)     Location in Claims

       ‘895 Patent: Claims 1, 20, 21

       ‘556 Patent: Claims 1, 20, 22, 28, 36, 44, 52, 60, 68, 75, 76




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                       b)      Stern’s Opening Position

       “connection between two cervical plates that reduces movement of either plate”

       As described above, the interlocking portion of the cervical plate and the cooperative

interlocking portion of the revision plate engage with one another to “securely fix[]” or

“attach[]” the two plates together. See `895 Patent (D.I. 39, Ex. A) at 1:59-61; Provisional (D.I.

39, Ex. C) at 3:4-5. This is what provides the “stabilizing interconnection.” See ‘895 Patent

(D.I. 39, Ex. A) at 1:59-61; Provisional (D.I. 39, Ex. C) at 3:4-5. The “stabilizing

interconnection” is a connection between two cervical plates. Because of the connection, the

movement of both plates is restricted. For example, the “stabilizing interconnection” would

reduce movement of the plates if one attempted to pull them apart (whereas if not “securely

fixed” or “attached” to each other, one of the plates would be free to move while pulling the

plates apart). See ‘895 Patent (D.I. 39, Ex. A) at 1:59-61; Provisional (D.I. 39, Ex. C) at 3:4-5;

see also ‘895 Patent (D.I. 39, Ex. A) at Figs. 1-4, 7 (showing revision plate “securely fixed” or

“attached” to the cervical plate, forming a stabilizing interconnection, and reducing movement of

the revision plate at least in the direction away from the cervical plate).

       While the meaning of this phrase may already appear straightforward, it is further

clarified in the specification: the stabilizing interconnection is “capable of resisting movement

of the adjacent cervical plates in at least one dimension.” ‘895 Patent (D.I. 39, Ex. A) at 2:3-11.

The reference is to the “adjacent cervical plates” (plural), referring to both the primary plate and

the revision plate. This is the same context provided in the claim. See, e.g., ‘895 Patent Claim

1(“provide a stabilizing interconnection between adjacent pre-positioned cervical plate and the

revision cervical plates, the stabilizing interconnection being capable of resisting movement of

the adjacent cervical plates in at least one dimension…”) Id. at 15:5-43. Thus the intrinsic




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evidence, including both the specification and the claims, support Stern’s construction that a

“stabilizing interconnection” is a “connection between two cervical plates that reduces

movement of either plate.”

                       c)      Globus’ Answering Position

       Plain and ordinary meaning.

       Defendant takes the position that “stabilizing interconnection” carries its plain and

ordinary meaning.     As noted in the ‘895 Patent specification, the purpose/outcome of the

integrated plate is, the interlocking portion of the revision plate cooperates with the base

interlocking portion of the original plate to “lock the two plates together” providing torsional

stability to and between the plates in at least one dimension that is independent of the connecting

screws. D.I. 39, Exhibit A - ‘895 Patent, Col. 5, lines 30-37.

       In his Opening Position, Plaintiff recognizes that the disputed term “stabilizing

interconnection” equates to a “securely fixed” or “attached” condition.          Plaintiff, however,

through claim construction equates these conditions to, “reduces movement of either plate.”

Section VI.3.b), p. 21. In doing so, Plaintiff ignores the fact that the plates, as noted in his

favored Figs. 1-4 and 7, are locked together to provide torsional stability in at least one direction.

See highlighted figures and citations in Section VI.1.c), pp. 10-11. Plaintiff further ignores the

undisputed fact that all asserted claims are directed to a fixed, not a dynamic system. Exs. A and

B to the Joint Appendix. Plaintiff’s claim construction therefore, is fundamentally flawed in

view of the asserted claims and the ‘895 Patent specification. Rather than reduced movement as

Plaintiff advocates, there is no movement in the locked, integrated system of the asserted claims.

       To repeat, the “invention” “[r]egardless of the ultimate design, both the original and the

revision plates of the current invention are constructed as an integrated plate system such that the




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interlocking portion of the revision plate cooperates with the base interlocking portion of the

original plate. These interlocking portions have coordinating surfaces that lock the two plates

together and provide torsional stability to and between the plates in at least one dimension that is

independent of the connecting screws.” D.I. 39, Exhibit A - ‘895 Patent, Col. 5, lines 30-37.

       Therefore, in the context of the asserted claims and ‘895 Patent specification, “stabilizing

interconnection” takes its plain and ordinary meaning.

                       d)      Stern’s Reply Position

       “connection between two cervical plates that reduces movement of either plate”

       Defendant provides no construction for this term, and instead argues that it should be

given an undisclosed “plain and ordinary meaning.” While the Defendant urges the Court to

abdicate its role of construing the claims, and instead to let the jury construe this term, it does not

show that Stern’s construction is incorrect. Defendant’s argument goes well beyond the

understood meaning of “stabilizing” and instead imports the concept of locking and restricting

movement in all directions. Yet this argument not only imports limitations from specific

embodiments into the claims, it also reads out specific claim language that notes the “stabilizing

interconnection” is “capable of restricting movement of the adjacent cervical plates in at least

one dimension.” Claim 1, `895 Patent (D.I. 39, Ex. A) at 15:26-28. For example, many

embodiments described in the specification and shown in the figures show a revision plate that

can be attached or engaged with an existing cervical plate, restricting the movement of the plates

in one dimension. When engaged (and forming a stabilizing interconnection), this stabilizing

interconnection resists (and therefore reduces) the movement of the plates being pulled apart, but

allows the plates to be pushed together to disengage from one another. See e.g., `895 Patent

(D.I. 39, Ex. A) at Figs. 1-4, 7. Again, even where the patent uses the term “lock” it is referring




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to providing “torsional stability to and between the plates in at least one dimension,” as

Defendant admits in its discussion of this term. This is consistent with Stern’s construction that

the “stabilizing interconnection” is a “connection between two cervical plates that reduces

movement of either plate.” In the previously cited figures, the movement of the plates apart from

each other is reduced. Thus Stern’s construction is accurate, and consistent with the

specification and the figures.

                       e)        Globus’ Sur-Reply Position

       Plain and ordinary meaning.

       Plaintiff appears to misapprehend what the Court’s role is in claim construction. The

court does not “abdicate its role” by finding that a claim term has its plain and ordinary meaning.

Rather, by doing so, the Court “indulges the heavy presumption that a claim term carries its

ordinary and customary meaning.” CCF Fitness, Inc. v. Brunswick Corp., 288 F. 3d 1359, 1366

(Fed. Cir. 2002) (quoting Johnson Worldwide Assocs., Inc. v. Zebco Corp., 135 F. 3d 985, 989

(Fed. Cir. 1999)).

       Here, “stabilizing interconnection” is clear, unambiguous, and means what it says. Stated

differently, its plain and ordinary meaning comports perfectly with the claims as a whole in

terms of the relationship between the pre-positioned cervical plate and the revision cervical plate.

As noted in Defendant’s Reply Position, “Plaintiff ignores the fact that the plates as noted in its

favored Figs. 1-4 and 7, are locked together to provide torsional stability in at least one

direction.” See highlighted figures and citations in Section VI.1.c), pp. 10-11.

       In contrast, Plaintiff’s construction through use of the phrase “reduces movement” is at

odds with the asserted independent claims as a whole. “Reduces movement” suggests that there




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is less movement. One does not have movement when plates are interlocked or as noted in

several independent claims, “permanently” secured.

       In sum, “stabilizing interconnection” takes its plain and ordinary meaning.



               4.      Term: “engage” / “engaged” / “engagement”

                       a)     Location in Claims

       ‘895 Patent: Claims 1, 20, 21

       ‘556 Patent: Claims 1, 20, 22, 24, 28, 29, 30, 36-38, 44-46, 52-54, 60-62, 68-70, 75, 76

                       b)     Stern’s Opening Position

       “engage” – “to connect”

       “engaged” – “to be connected”

       “engagement” – “a connection”

       These terms, all variations of “engage,” have their common meaning, which is to connect

or be connected. This is confirmed by the context of the usage in the claims, as well as the usage

in the specification. For example, the cervical plates are described as “designed to cooperatively

engage … to provide a stabilizing interconnection.” `895 Patent (D.I. 39, Ex. A) at 1:59-2:12.

Thus when the plates “engage” with each other, they connect with each other. In another

example, an arm of a revision plate engages with the channel of a cervical plate to “provide a

secure connection between the plates.” Id. at 6:24-31; see also id. at Figs. 1-4, 7 and 17-22 (all

showing that the revision plate and cervical plate connect to one another when they “engage”

each other). As noted above, the plates are described as “attached” or “securely fixed” to one

another. See id. at 1:59-61; Provisional at 3:4-5. This further supports the construction that the

plates, when engaged to one another, are connected to one another.




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       Similarly, the context of the claims shows that engage means connect. The claims note a

first part engages with a second part. For example, claim 1 recites “the at least one cooperative

interlocking portion of the revision plate is configured to cooperatively engage the at least one

interlocking portion of the pre-positioned cervical plate to provide a stabilizing interconnection

between adjacent pre-positioned cervical plate and the revision cervical plates” (emphasis

added), and also recites “wherein the cooperative interlocking portion of the revision cervical

plate is configured such that it initially engages the interlocking portion of the pre-positioned

cervical plate from above a horizontal plane of the pre-positioned cervical plate….” ‘895 Patent

(D.I. 39, Ex. A) at 15:5-43 (Claim 1) (emphasis added); see also id. at Claims 20, 21; ‘556 Patent

(D.I. 39, Ex. B) at Claims 1, 20, 22, 24, 28, 29, 30, 36-38, 44-46, 52-54, 60-62, 68-70, 75 and 76.

In each instance, the “engage” terms refer to a part of the revision plate (such as the “cooperative

interlocking portion”) that connects to a part of the cervical plate (such as the “interlocking

portion”).

       Extrinsic evidence also supports the construction of “engage” to mean connect. The

dictionary definition of engage is “to come together and interlock” with the example of “the

gears engaged.” See "engage," Merriam-Webster.com. Accessed March 14, 2017.

https://www.merriam-webster.com/dictionary/engage. When gears “interlock” they are not

“locked” together in the traditional sense – the teeth of the gears are typically connected to

provide a functional connection, and transfer rotation between the gears. However, the gears can

typically still be disconnected from one another. In a similar way, the cooperative interlocking

portion of the revision plate connects to the interlocking portion of the cervical plate, to connect

the two plates (such as by the arm of the revision plate connecting to the groove of the cervical

plate); while both plates may remain connected to one another when under tension, and prevent




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movement of either plate away from the other, they may still be disconnected by a particular

movement where the plates are moved toward each other and the revision plate is lifted up -- the

opposite of the movement that connected and “interlocked” the plates. The plates are attached to

one another, and securely fixed, and while interlocked, they are not permanently “locked”

together.

       Both the intrinsic evidence and the extrinsic evidence confirms that as used in the

patents-in-suit, the various forms of “engage” mean connect, or to be connected, and Stern’s

proposed constructions are appropriate.

                      c)      Globus’ Answering Position

       Plain and ordinary meaning or to the extent construction is necessary: to interlock or
       cause to interlock.

       Defendant’s position is the disputed terms “engage,” engaged” and “engagement” take

their plain and ordinary meaning. The terms are simple, non-technical and mean what they say.

There is no ambiguity, no special definition and no disavowal in the specification or file history.

In fact, Plaintiff never states why these terms should not take their plain and ordinary meaning.

Rather, Plaintiff, in concert with his theme of removing “locking” from the asserted claims, gives

these disputed terms an unsupported construction. One of ordinary skill in the art and for that

matter a lay person understands what these terms mean.                “Engage,” “engaged” and

“engagement” takes their plain and ordinary meaning.

       To the extent this court construes these disputed terms, the following excerpts from the

‘895 Patent specification and the corresponding figures from Plaintiffs favored figures 1-4 and 7

and corresponding descriptions from the ‘895 Patent specification are instructive:

              As shown in FIGS. 2a and 2b, the old plate (22) has a grooved channel
       (24), which corresponds to a cooperative groove (26) on the interlock arm (28) of
       the new plate (30), such that when engaged by the new plate the grooved upper



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       edge (24) of the old plate overlaps the cooperative groove (26) of the arm (28) of
       the new plate to provide a secure connection between the two plates. This groove
       and overlap mechanism allows the arm (28) of the new plate (30) to snap into
       position from and then to lock (as shown in FIGS. 2c to 2f) so that it may be
       positioned from above and does not have to be fed in parallel to the previously
       placed plate (22), as in the embodiment shown in FIG. 1. FIGS. 2g and 2h provide
       detailed cross-sectional diagrams of the grooved channel (24) of the old plate and
       arm (28) of the new plate, respectively.

D.I. 39, Exhibit A - ‘895 Patent, Col. 6, lines 25-31 (emphasis added)
                                                 ***




                                             ***
               Again, as discussed above, the interlocking grooves on the channel of the
       old plate and the arm of the new plate provide a linkage when engaged that can
       only be moved in a single dimension distally along the longitudinal axis of the
       original plate thereby providing stability to and between the plates in all other
       flexural directions.

D.I. 39, Exhibit A - ‘895 Patent, Col. 6, lines 40-45 (emphasis added)

                                               ***
               In addition to grooves that lock the sides of the plate and prevent
       movement of the arm perpendicular to the longitudinal axis of the plate, as used in
       the embodiments depicted in FIGS. 1 to 3, as shown in FIGS. 4a to 4e, the linkage
       mechanism might also be provided with a mechanism for resisting the movement
       of the plate along that longitudinal axis. In the embodiment shown in these figures
       both the channel (54) of the old plate (55) and the arm (56) of the new plate (57)
       are provided with interlocking ridges or teeth (58 & 59, respectively), such that
       when the plates are engaged (as shown in FIG. 4e) the teeth in the channel of the


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       old plate and the teeth on the arm of the new plate engage to lock the arm into
       position along the longitudinal axis of the plates.

D.I. 39, Exhibit A - ‘895 Patent, Col. 7, lines 21-33 (emphasis added)




                                               ***




       Defendant’s alternate construction, to interlock or cause to interlock aligns perfectly

with excerpts from the Figures and excerpts from the ‘895 Patent specification noted above and

the asserted claims. Defendant’s alternate construction, to interlock or cause to interlock, is

further confirmed by Plaintiff’s citation in his Opening Position to the extrinsic evidence:

       Extrinsic evidence also supports the construction of “engage” to mean connect.
       The dictionary definition of engage is “to come together and interlock” with the
       example of “the ears engaged.” See "engage," Merriam-Webster.com. Accessed
       March 14, 2017. https://www.merriam-webster.com/dictionary/engage. When
       gears “interlock” they are not “locked” together in the traditional sense – the teeth
       of the gears are typically connected to provide a functional connection, and
       transfer rotation between the gears. However, the gears can typically still be
       disconnected from one another. In a similar way, the cooperative interlocking
       portion of the revision plate connects to the interlocking portion of the cervical
       plate, to connect the two plates (such as by the arm of the revision plate
       connecting to the groove of the cervical plate); while both plates may remain
       connected to one another when under tension, and prevent movement of either
       plate away from the other, they may still be disconnected by a particular
       movement where the plates are moved toward each other and the revision plate is


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       lifted up – the opposite of the movement that connected and “interlocked” the
       plates. The plates are attached to one another, and securely fixed, and while
       interlocked, they are not permanently “locked” together. (Emphasis added)

Section VI.4.b), pp. 26-27

       In addition to the confirmatory bolded definition above, an interesting statement is made

by Plaintiff in the excerpt above concerning Plaintiff’s reliance on the “concept” that the plates

are like, “when gears ‘interlock’ they are not ‘locked’ together in the traditional sense – the teeth

of the gears are typically connected to provide a functional connection, and transfer rotation

between the gears.” By this statement, Plaintiff misses or ignores the point. When one gear is

stationary the second gear cannot rotate, they are locked in at least one direction or dimension.

       When the plates “engage,” are “engaged” or are in “engagement,” as described in the

‘895 Patent specification and the asserted claims, they form a “lock’ in one or more flexural

directions. Put another way, as noted several times by Defendant, the “lock” of the “invention”

refers to the plates being “locked” in a least one direction.

       In conclusion, the terms engage, engaged, and engagement takes there plain and ordinary

meaning, or in the alternative, take the meaning of: to interlock or cause to interlock.

                       d)      Stern’s Reply Position

       Defendant repeatedly argues that all connections between plates in the patent must be

locking, despite the fact that the patent describes the plates as fixed to one another, attached to

one another, or making a connection to one another. ’895 Patent (D.I. 39, Ex. A) at 5:38-44;

1:59-61; 6:24-31. And even “lock” is not what it seems: Defendant admits that “lock” as used

in the patent has a specific meaning: “to provide torsional stability in at least one direction.”

Because of this meaning, use of the word “lock” without further description is not likely to assist

the jury, and instead is more likely to mislead the jury into an interpretation of “lock” as




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restricting movement in all directions. However, the patent uses the terms “attached,” “fixed,”

and “interconnection,” and describes embodiments where movement is only restricted in one

direction, making “to connect” a more accurate construction of engage than “to interlock.”

Defendant does not point to any embodiment for which Stern’s construction is not accurate.

Moreover, Defendant appears to concede that its “locking” restriction would not apply to certain

embodiments (such as the “dynamic” embodiments, the embodiments shown in Figs. 23 and 24

that use elastic bands, or the buttress-fit embodiments described in the specification), which it

unilaterally claims are not covered by any of the asserted claims. Stern disagrees.

       Where Defendant does point to the specification, it supports Stern’s proposed

construction. In the passage cited by Defendant with respect to these terms, the term “engaged”

is specifically equated with a connection: “when engaged by the new plate, … the old plate

overlaps the cooperative groove (26) of the arm (28) of the new plate to provide a secure

connection.” `895 Patent (D.I. 39, Ex. A) at 6:28-31 (emphasis added). For these reasons,

Stern’s proposed construction is most accurate and should be adopted.

                         e)    Globus’ Sur-Reply Position

       Plain and ordinary meaning or to the extent construction is necessary: to interlock or
       cause to interlock.

       Plaintiff’s true issue is not jury confusion, but rather a construction that impacts

infringement. How is the jury misled by the terms “engage,” “engages” and “engagement”

taking their plain and ordinary meaning.        In kind, why is the jury misled by the terms

“interlocking” or “cooperative interlocking?” The only misleading that can or will occur is by

re-writing the claims.




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        “Engage,” “engaged” and “engagement” takes their plain and ordinary meaning. In the

alternative, if construction is necessary, it must comport with the claims as a whole, that being:

to interlock or cause to interlock.



               5.      Term: “along”

                       a)     Location in Claims

       ‘895 Patent: Claim 1, 2, 20, 21

       ‘556 Patent: Claims 2, 24, 30, 38, 46, 54, 62, 70

                       b)     Stern’s Opening Position

       “located on or over”

       The term “along” is used consistently in the patents-in-suit to mean located on or over.

Stern contends this is also the plain and ordinary meaning of “along.” The majority of the uses

of “along” in the patent are in the context of something being located “along” a particular axis.

For example, Fig. 1C of the ‘895 Patent shows a groove in a cervical plate “along the

longitudinal axis.” ‘895 Patent (D.I. 39, Ex. A) at 5:59-63; id. at Fig. 1C. The plain and

ordinary meaning of “along” in the context of along a particular axis means located on or over

that axis. Additional instances in the specification describe a groove that limits movement of the

revision plate to a single dimension – “along the longitudinal axis of the original plate….” Id. at

6:58-66. Figs. 3A-3C of the ‘895 Patent confirm that this is a path located on the longitudinal

axis of the original plate. Another example describes “interlocking ridges or teeth” for resisting

movement of the plate along the longitudinal axis, and Figs. 4A-4E of the ‘895 Patent confirm

that this was referring to movement on the longitudinal axis. Id. at 7:21-26; id. at Figs. 4A-4E.

With respect to the claims, Claim 1 provides a good example. The claim includes “at least one




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interlocking portion arranged on the cervical plate body along a longitudinal axis thereof” and

“at least one armature extending from the revision plate body along a longitudinal axis thereof.”

These mating surfaces must align, and thus the claim’s use of “along a longitudinal axis” imports

the specific meaning of a location on the longitudinal axis, rather than simply parallel or close to.

To read “along” more broadly would read it out of the claim entirely, meaning that any point on

the cervical plate or revision plate would be “along” the longitudinal axis.

       In addition to the intrinsic evidence cited above, extrinsic evidence, in the form of a

dictionary definition, is also consistent with Stern’s proposed construction. “Along” is defined

as “through, on, beside, over, or parallel to the length or direction of; from one end to the other

of: to walk along a highway; to run a border along a shelf.” See “along,” Unabridged. Random

House, Inc. http://www.dictionary.com/browse/along (accessed: March 26, 2017). However, in

this case, from the context in which “along” is used both in the specification and the claims, and

in view of the relatively small size of the cervical plates, the “beside” or “parallel to” definitions

would render the term meaningless, as every position on a cervical plate might be said to be

beside or parallel to a specific axis of the plate, such as the longitudinal axis. Thus, the most

applicable definitions are on or over.

       Stern’s proposed construction is consistent with the usage in the specification and as

illustrated in the figures, and is also consistent with the usage and context of “along” in the

claims. Stern’s proposed construction is also consistent with the extrinsic evidence, and thus

“along” should be construed as “located on or over.”

                       c)      Globus’ Answering Position

       On a line or course parallel and close to.




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       Plaintiff takes a construction of the term “along” that is unduly restrictive, in view of the

‘895 Patent specification and the ‘895 Patent file history. If Plaintiff wanted the term “along” to

be restricted to “located on or over,” then Plaintiff should have used those words in drafting the

asserted claims. Rather, “along” is used in the asserted claims as follows: “along a central

longitudinal axis” or “along a longitudinal axis.” Joint Appendix, Ex. A and B.

       During prosecution of the ‘895 Patent, the term “along a central longitudinal axis” and

“along a longitudinal axis” were presented to the USPTO. More particularly, as noted in Ex. C

to the Joint Appendix, independent claims 1 and 20 as originally filed contained the term “along

the central longitudinal axis.” On October 2, 2012, the Examiner rejected claims 1-20, noting as

to the term “along the central longitudinal axis thereof” as follows:

       7.      Initially, the limitation “along the central longitudinal axis thereof” must
       be considered with the broadest reasonable interpretation. Based on the claims,
       and for example, at claim 10, it becomes clear that the “at least one armature” 60
       of Apfelbaum reads on the limitation of extending upon this axis in that it extends
       in the same direction as the axis. The two rails 60, viewed in their entirety,
       extend along the central longitudinal axis of the plate. This interpretation will be
       utilized throughout the following rejections.

Joint Appendix, Ex. D, ‘895 Patent File History, Non-Final Rejection dated 10/2/2012, p. 2-3.

       For reference purposes, the Apfelbaum reference noted by the Examiner is as follows:




Joint Appendix, Ex. E, Apfelbaum, U.S. Pub. No. 2003/0074001, Fig. 22.



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       The Applicant on November 5, 2012, responded to the Office Action by amending

independent claim 1 to remove the term “central.” Joint Appendix, Ex. F. The Applicant in his

corresponding remarks made no mention or representation as to the amended language of claim 1

concerning the removal of “central”, the Examiner’s rejection of claims 1 and 20 concerning

“along the central longitudinal axis thereof” or the rejections where the prior art shows the

presence of “along” the “longitudinal axis” in the Joint Appendix at Ex. D., pp. 3 and 5.

       On 2/1/2013, the Examiner rejected claims 1-20, noting in a final office action as to the

term “along a longitudinal axis thereof,” as follows:

       6.      Initially, the limitation “along a longitudinal axis thereof” must be
       considered with the broadest reasonable interpretation. Based on the claims, and
       for example, at claim 10, it becomes clear that the “at least one armature” 60 of
       Apfelbaum reads on the limitation of extending upon a longitudinal axis in that it
       extends in the same direction as the longitudinal axis. The two rails 60, viewed in
       their entirety, extend along a longitudinal axis of the plate. This interpretation
       will be utilized throughout the following rejections.

Joint Appendix, Ex. G, ‘895 Patent File History, Final Rejection dated 2/1/2013, p. 2-3.

       Again for reference purposes, the Apfelbaum reference noted by the Examiner is as

follows:




Joint Appendix, Ex. E, Apfelbaum, U.S. Pub. No. 2003/0074001, Fig. 22.




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       On 4/12/2013, the Applicant amended the independent claims, but did not amend the

term “along” as it concerns “a longitudinal axis.” Joint Appendix, Ex. H. In the remarks section,

Applicant made no mention whatsoever of the Examiner’s rejection concerning “along a

longitudinal axis thereof.” Rather, the entirety of the remarks section was directed to other

limitations. Joint Appendix, Ex. H.

       Following an Advisory Action on 5/10/2013, that included proposed amendments by

Applicant (Joint Appendix, Ex. I), and the filing of an RCE on 5/28/2013 in which no

amendments were made concerning the term “along” the “longitudinal axis” (Joint Appendix,

Ex. J), the Applicant received a Notice of Allowance. Joint Appendix, Ex. K.

       By failing to address or respond to the rejections made by the Examiner at least at the

time of the final rejection, the Applicant acquiesced to the Examiner’s position. In addition, the

construction for “along” in relation to “a longitudinal axis,” is considered in view of the file

history as a whole. Plaintiff’s construction of “located on or over” therefore, by definition, is

incorrect as for example noted by the Examiner’s rejections.

       Additionally, in reviewing Plaintiff’s Opening Position, Plaintiff notes the following:

       In addition to the intrinsic evidence cited above, extrinsic evidence, in the form of
       a dictionary definition, is also consistent with Stern’s proposed construction.
       “Along” is defined as “through, on, beside, over, or parallel to the length or
       direction of; from one end to the other of: to walk along a highway; to run a
       border along a shelf.” See “along,” Unabridged. Random House, Inc.
       http://www.dictionary.com/browse/along (accessed: March 26, 2017). However,
       in this case, from the context in which “along” is used both in the specification
       and the claims, and in view of the relatively small size of the cervical plates, the
       “beside” or “parallel to” definitions would render the term meaningless, as every
       position on a cervical plate might be said to be beside or parallel to a specific axis
       of the plate, such as the longitudinal axis. Thus, the most applicable definitions
       are on or over. (emphasis added)

Section VI.5.b), pp. 33.




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       The dictionary definition as noted above clearly comports with the Examiner’s statements

and the use of the term. Plaintiff’s explanation to the contrary is not supported.

       In sum, the restricted definition that Plaintiff advocates is counter to the ‘895 Patent

specification and the ‘895 Patent file history. Defendant’s construction of, on a line or course

parallel and close to, is the correct and supported construction.

                       d)      Stern’s Reply Position

       Defendant’s construction attempts to broaden out “along” so far as to render it

meaningless. Under Defendant’s construction, any point on a cervical plate would be “along”

both a vertical and a horizontal axis, as well as along any edge of the plate. This would render

such claim language superfluous, which is improper.

       Defendant also argues that Stern acquiesced to a broader definition of “along” used by a

patent examiner, when Stern gained allowance of claims on other grounds and did not argue

against such definition. However, because allowance was obtained on other grounds, there was

no need to address such definition of “along,” and thus no acquiescence to such definition. 3M

Innovative Properties Co. v. Avery Dennison Corp., 350 F.3d 1365, 1373-74 (Fed. Cir. 2003)

(“An applicant's silence in response to an examiner's characterization of a claim does not reflect

the applicant's clear and unmistakable acquiescence to that characterization if the claim is

eventually allowed on grounds unrelated to the examiner's unrebutted characterization.”); see

also Salazar v. Procter & Gamble Co., 414 F.3d 1342, 1345 (Fed. Cir. 2005) (“‘Prosecution

history ... cannot be used to limit the scope of a claim unless the applicant took a position before

the PTO.’”) (quoting Schwing GmbH v. Putzmeister Aktiengesellschaft, 305 F.3d 1318, 1324-25

(Fed.Cir.2002). In addition, the tenets of claim construction differ between prosecution and

litigation. During prosecution, the patent office uses a “broadest reasonable interpretation”




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standard. In contrast, during litigation, the claims are construed as informed by the teachings of

the specification. Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)

(“The specification is usually “the single best guide to the meaning of a disputed term.”); see

also Phillips v. AWH Corp., 415 F.3d 1303, 1312-1317 (Fed. Cir. 2005) (en banc). Thus the

patent examiner’s definition of “along,” which was not the basis for allowance, is not applicable

here. Defendant offers no other reason why Stern’s construction is incorrect. Stern’s

construction is based on the usage of “along” in the specification and the claims, and is

consistent with the dictionary definition as well. It is therefore the proper construction.

                       e)      Globus’ Sur-Reply Position

       Plaintiff is confused as to the events that occurred in prosecution. Specifically, Plaintiff

as noted at Defendant’s Answering Position, Section VI.5.c), p. 35, amended its pending

independent claim 1 to remove “central” from “central longitudinal axis” in order to distinguish

over the cited prior art. Plaintiff failed to overcome the rejection, however, as noted by the

Examiner as follows:

       6.      Initially, the limitation “along a longitudinal axis thereof” must be
       considered with the broadest reasonable interpretation. Based on the claims, and
       for example, at claim 10, it becomes clear that the “at least one armature” 60 of
       Apfelbaum reads on the limitation of extending upon a longitudinal axis in that it
       extends in the same direction as the longitudinal axis. The two rails 60, viewed in
       their entirety, extend along a longitudinal axis of the plate. This interpretation
       will be utilized throughout the following rejections.

Joint Appendix, Ex. G, ‘895 Patent File History, Final Rejection dated 2/1/2013, p. 2-3.

       Plaintiff’s action in prosecution and the Examiner’s construction of “along” confirms

Defendant’s construction position. “Along” means: on a line or course parallel and close to.

Plaintiff’s attempt to limit the term is not supported by its actions, the Examiner’s non-biased




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interpretation of the term, the term itself or as noted in Defendant’s Answering Position, Section

VI.5.c) the intrinsic evidence of record.8

       In sum, as noted in the file history and as supported by the specification, “along” does not

mean “located on or over.” If Plaintiff wanted that meaning it should have used those words in

prosecution. Rather, “along” as noted by the Examiner and as supported by the specification

means: on a line or course parallel and close to.



               6.      Term: “groove”

                       a)      Location in Claims

       ‘895 Patent: Claims 3, 4, 5, 20

       ‘556 Patent: Claims 3, 4, 5, 20, 24, 30, 38, 46, 54, 62, 70

                       b)      Stern’s Opening Position

       “an elongated channel or depression”

       The patents-in-suit consistently describe a “groove” as an elongated channel or

depression. What is identified in the figures confirms that a “groove” is an elongated channel or

depression. Figs. 1A-1F of the ‘895 Patent are described as showing a “simple groove and joint

dovetail slider system.” ‘895 Patent (D.I. 39, Ex. A) at 5:45-63. This is a specific variant of the

“tongue and groove” system of interlocking pieces, where a protruding tongue is received by an

elongated channel or depression (the groove). See id. at 5:45-63. The patent also uses the term

“groove” interchangeably with “channel,” referring to the “groove or channel (40)” in reference

to Figs. 3A-3E. Id. at 6:54-58. The “groove (40)” depicted in Fig. 3A is an elongated channel.


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  Equally incorrect is Plaintiff’s statement that Defendant’s construction would allow “both a
vertical and horizontal axis along any edge of the plate.” Plaintiff ignores that in each and every
asserted claim “along” does not stand alone, but is modified by horizontal.


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In fact, the specification later also refers to 40 as a channel, confirming that the groove is a

channel. Id. at 7:13-16 (“the channel (40) within which the arm (44) of the new plate (46) rests

can also be provided with a snap-in piece (50) that would be remove at the time the new plate is

installed to ensure that the groove remains unfouled prior to surgery.” (emphasis added)).

         The claims also use “groove” to refer to an elongated channel or depression. For

example, Claim 3 of the ‘895 patent recites “wherein the interlocking portion the of pre-

positioned cervical plate comprises a groove integrally formed into at least one of the distal and

proximal ends of the body of the cervical plate, and wherein the armature of the revision plate is

interlockingly cooperative with said groove.” Id. at 15:48-53. The groove is integrally formed

into at least an end of the cervical plate, and necessarily is depressed, as it must be able to

receive the armature of the revision plate.

         Stern’s proposed construction also conforms with the dictionary definition of groove,

which describes a groove as “[a] rut, groove, or narrow depression or channel in a surface.” See

“groove,” The American Heritage® Science Dictionary (Stedman’s Medical Dictionary).

Houghton Mifflin Company. http://www.dictionary.com/browse/groove (accessed: March 15,

2017).

         Stern’s proposed construction of groove is supported by the intrinsic evidence, consistent

with the usage of the term in both the specification and claims, and is further confirmed by the

dictionary definition. Thus, “groove” should be construed as “an elongated channel or

depression.”

                        c)     Globus’ Answering Position

         Plain and ordinary meaning.




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       The term “groove” is simple, non-technical, and takes its plain and ordinary meaning.

“Groove” as noted in the ‘895 Patent specification and accompanying figures is not restricted to

“an elongated channel or depression” as Plaintiff advocates.              Rather, the ‘895 patent

specification describes “groove” in the following ways:

               Again, as discussed above, the interlocking grooves on the channel of the
       old plate and the arm of the new plate provide a linkage when engaged that can
       only be moved in a single dimension distally along the longitudinal axis of the
       original plate thereby providing stability to and between the plates in all other
       flexural directions. Although only simple groove profiles are shown in this
       embodiment, it should be understood that any groove profile suitable for
       interlocking the arm of the new plate with the old plate may be utilized.

D.I. 39, Exhibit A - ‘895 Patent, Col. 6, line 40-48 (emphasis added)

              Again although only standard grooves are shown in these embodiments, it
       should be understood that these linkages could also be provided with locking
       grooves to positively lock the arm of the new plate into position within the
       trapezoidal channel of the old plate.

D.I. 39, Exhibit A - ‘895 Patent, Col. 6, line 66-Col. 7, line 3 (emphasis added)

              Again although only standard grooves are shown in these embodiments, it
       should be understood that these linkages could also be provided with locking
       grooves to positively lock the arm of the new plate into position within the
       trapezoidal channel of the old plate.

D.I. 39, Exhibit A - ‘895 Patent, Col. 7, lines 51-55 (emphasis added)

              Although only simple groove profiles are shown in this embodiment, it
       should be understood that any groove profile suitable for interlocking the arm of
       the new plate with the old plate may be utilized.

D.I. 39, Exhibit A - ‘895 Patent, Col. 8, lines 44-49 (emphasis added)

              Although only one exemplary groove design has been discussed above, it
       should be understood that any suitable interlocking groove geometry could be
       employed in the current embodiment. For example, as shown in FIGS. 11a to 11c,
       the groove could include a more complicated interlocking surface, such as a
       chevron (or triangular section) 1010, or as shown in FIGS. 12a to 12c a curved
       surface 1011, to provide additional stability.

D.I. 39, Exhibit A - ‘895 Patent, Col. 10, lines 19-26 (emphasis added)



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              It should also be understood that although the groove on each of these
       embodiments is provided with a convex shape, in this interlocking design the
       curve could also be concave.

D.I. 39, Exhibit A - ‘895 Patent, Col. 10, lines 58-61 (emphasis added)

                Although not shown, all such systems as shown in FIGS. 9 to 16 could
       also be provided with groove locks on the edges to the plate, such as those
       discussed in relation to the other dovetail configurations to provide further
       stability. In addition, although not shown in the figures, an optional window could
       also be provided in the plate system to allow for the inspection of the disc space.

D.I. 39, Exhibit A - ‘895 Patent, Col. 11, lines 31-34 (emphasis added)


       The purpose of the “groove” as noted above and in Plaintiff’s favored Figs. 1-4 and 7, is

to form a “lock.” The “groove” as noted above, can take many forms. A “groove” therefore

takes its plain and ordinary meaning.

                       d)      Stern’s Reply Position

       Once again, Defendant provides no proposed construction, and instead urges the court to

adopt an unspecified “plain and ordinary meaning.” Without a proposed construction, or any

indication of the plain and ordinary meaning, this allows the jury to define this term as it sees fit,

shifting the legal requirement of construing the claims from the Court to the jury. This is

improper. O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir.

2008). Stern proposes a construction that is consistent with the specification, as well as the

dictionary definition. To the extent Globus disagrees with Stern’s proposed construction, it must

also contend that Stern’s construction is at odds with the plain and ordinary meaning of the term,

meaning that the parties have a genuine dispute regarding the meaning of this term. In such a

case, the Court must construe the term. Id. at 1361 (“In this case, the “ordinary” meaning of a

term does not resolve the parties' dispute, and claim construction requires the court to determine

what claim scope is appropriate in the context of the patents-in-suit.”).


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        Stern’s construction is consistent with the examples from the specification selected by

Stern, as well as the dictionary definition of the term; it is also consistent with all of the

examples cited by Globus. Each of the “grooves” shown in cited Figures 1-4 and 7 constitutes

“an elongated channel or depression,” which is why the patent uses the terms channel and groove

interchangeably in some instances.

        Defendant, with no citation to any support in the specification, argues that the purpose of

a groove is to form a lock. But the very portion of the specification cited by Globus (`895 Patent

(D.I. 39, Ex. A) at 6:40-48 and 6:66-7:3) specifically distinguishes between a “standard groove”

and a “locking groove,” confirming that not all grooves are intended to form a lock. A proper

construction of “groove” must apply not only to the “locking groove” referenced in the

specification, but must also apply to the “standard groove” disclosed in the specification and

used in the claims. Stern’s construction is accurate, and generally applicable to all instances of

the term “groove” in the patents-in-suit. The usage of “groove” in the asserted claims is simply a

“groove” and not a “locking groove,” confirming the applicability of Stern’s construction.

                        e)      Globus’ Sur-Reply Position

        Plain and ordinary meaning.

        Groove is a simple, non-technical term that takes its plain and ordinary meaning. Why

Plaintiff feels compelled to interpret groove when the term means what it says is a mystery.

Defendant cites to multiple excerpts from the specification in support of the multiple types of

groove profiles. Plaintiff’s statement as to the distinction between standard grooves and locked

grooves is interesting, but unavailing. Groove takes its plain and ordinary meaning.




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               7.      Term: “overlap” / “overlaps”

                       a)      Location in Claims

       ‘895 Patent: Claim 17

       ‘556 Patent: Claims 17, 21, 22, 25, 28, 31, 36, 39, 44, 47, 52, 55, 60, 63, 68, 70, 75, 76

                       b)      Stern’s Opening Position

       “overlap” – “to extend over or past and cover a part of”

       “overlaps” – “extends over or past and covers a part of”

       The terms “overlap” and “overlaps” are used generally in two contexts in the patents-in-

suit. One is to describe an opening that overlaps the disc space to allow visual inspection. In

this instance, the opening extends over and covers a part of the disc space to allow visual

inspection. See ‘895 Patent (D.I. 39, Ex. A), Figs. 1-4 and 7, showing “windows” that would

extend over and cover a part of the disc space to allow visual inspection. The other context is the

arm of a revision plate that overlaps the groove of a cervical plate, such as shown in Figs. 7D-7F.




As shown in the figures, the arm (78) extends over and covers a part of the channel (76). This is

also the commonly understood construction of overlap: the dictionary definition is “to extend

over or past and cover a part of,” as in “[t]he roof shingles overlap each other.” See “overlap,”

Merriam-Webster.com. Accessed March 14, 2017. https://www.merriam-

webster.com/dictionary/overlap.


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       Stern’s proposed construction is consistent with both intrinsic and extrinsic evidence, and

therefore “overlap” should be construed as “to extend over or past and cover a part of.”

                      c)      Globus’ Answering Position

       To lie or extend over and cover part of.

       Plaintiff’s construction of the term “overlap” and “overlaps” purposefully ignores the

‘895 Patent specification. For example, Plaintiff cites to Fig. 7 in its Opening Position, Section

VI.7.b), p. 44. A review of Fig. 7, however, shows the overlap that occurs when one surface lies

over another.    Specifically, Fig. 7 and an accompanying excerpt from the ‘895 Patent

specification is reproduced as follows:




               As shown in FIGS. 7d to 7f, this and overlapping groove mechanism
       allows the arm (78) of the new plate (75) to snap into position from above and
       then to lock as it is pulled proximal to the new plate so that it may be positioned
       from above and does not have to be fed in parallel to the previously placed plate
       (74).

D.I. 39, Exhibit A - ‘895 Patent, Col. 8, lines 32-38 (emphasis added)




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       The same overlap condition is shown and described concerning Plaintiff’s remaining

favored Figs. 1-4 is as follows: D.I. 39, Exhibit A, ‘895 Patent, Fig. 1B, Col. 5, line 64-Col. 6,

line 9; ‘895 Patent, Fig. 2F, Col. 6, lines 24-36; ‘895 Patent, Fig. 3C, Col. 6, line 54-Col. 7, line

3; and ‘895 Patent, Fig. 4E, Col. 21-33.

       As for Plaintiff’s identification of extrinsic evidence, including the citation to “The roof

shingles overlap each other,” (Opening Position, Section VI.7.b), pp. 44) this definition includes

the concept of one lying over the other and is in comport with what is shown and described in the

‘895 Patent specification and Figs. 1-4 and 7 above.

       In conclusion, Defendant’ definition to lie or extend over and cover part of includes

Plaintiff’s construction of “to … extend over and cover part of.” Defendant’s construction

therefore fits with the ‘895 Patent specification and with the extrinsic evidence cited by Plaintiff.

                       d)      Stern’s Reply Position

       The parties’ respective constructions of “overlap” are very similar, with the only

discernible difference being Defendant’s use of the terminology of “to lie or extend over” instead

of “to extend over or past.” With the purpose of claim construction being to assist the jury in

determining the meaning of the claims, the use of words that will most easily be understood by

jurors is important. Both constructions use the phrase “extend over.” Stern’s construction

implies the use of “extend past,” meaning that a first object overlapping a second object can

extend past the first object – the ends of the objects do not have to be coterminous. This is

consistent with the usage in the patent, including the examples cited by Defendant. For example,

in Figure 7, the arm (78) of the revision plate extends over and covers part of channel (76). The

arm also extends past the end of the channel when the plates are engaged.




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       Defendant’s construction does not specifically address this aspect of an overlap. In

addition, Defendant’s construction implies the use of “to lie over” which appears to be redundant

of “extend over” and uses less common language. Stern’s construction addresses the situation

where the overlapping objects are not coterminous, is consistent with the patent as well as the

dictionary definition, and thus is the most accurate construction.

                       e)     Globus’ Sur-Reply Position

       To lie or extend over and cover part of.

       It is true that the respective positions of the parties are similar, but they are also distinct.

For example, Plaintiff’s construction purportedly captures a distinction not required by the

claims. Specifically, the claims do not call for the concept of “extend past” or that objects are

not “coterminous.” In addition, Plaintiff’s construction “to extend over” could easily be

interpreted as the relationship between two surfaces that are not in contact, where one extends

over, without touching, the other. Defendant’s construction solves these issues. “To lie or

extend over” includes the concept of two surfaces in contact, as specifically noted and called for

in each one of the asserted independent claims. It is not redundant as Plaintiff suggests. In sum,

Defendant’s construction is the correct construction.



               8.      Term: “revision cervical plate”

                       a)     Location in Claims

       ‘895 Patent: Claim 1, 17-21

       ‘556 Patent: Claims 1-3, 18-20, 22, 28, 34-36, 42-44, 50-52, 58-60, 66-68, 73-76


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                       b)      Stern’s Opening Position

       “a cervical plate with specialized features for connecting to another cervical plate”

       The patent describes a “revision cervical plate” as having an additional integrated base

interlocking portion (for connecting to another revision plate), and a cooperative interlocking

portion (for connecting to the pre-positioned plate). See ‘895 Patent (D.I. 39, Ex. A) at 1:62-

2:12. These specialized features allow the revision plate to cooperatively engage an adjacent

plate, and provide a stabilizing interconnection between the plates. Id. “Regardless of the actual

design of the interlocking portions, each of the base interlocking portions is designed to

cooperatively engage each of the cooperative interlocking portions to provide a stabilizing

interconnection between two adjacent plates….” Id. at 2:3-7. Put even more simply, “[t]he

current invention is directed to an improved anterior cervical plate that allows a new plate

[revision plate] to be attached to the prior plate, so that the old plate does not have to be

removed.” Id. at 1:59-61. The specialized features of both the pre-positioned plate and the

revision plate are what “allows a new [revision] plate to be attached to the prior plate.” Id.

       The claims specifically describe the specialized features of the revision plate for

connecting it to a cervical plate. For example, Claim 1 of the ‘895 Patent recites numerous

specialized features: “at least one revision cervical plate defining a revision plate body having at

least a second vertebral anchoring mechanism configured to attach to a second vertebral body

and at least one armature extending from the revision plate body along a longitudinal axis

thereof, the at least one armature having a cooperative interlocking portion disposed

thereon; wherein the at least one cooperative interlocking portion of the revision plate is

configured to cooperatively engage the at least one interlocking portion of the pre-

positioned cervical plate to provide a stabilizing interconnection between adjacent pre-




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positioned cervical plate and the revision cervical plates, the stabilizing interconnection being

capable of resisting movement of the adjacent cervical plates in at least one dimension; wherein

the cooperative interlocking portion of the revision cervical plate is configured such that it

initially engages the interlocking portion of the pre-positioned cervical plate from above the

upper horizontal face of the pre-positioned cervical plate.” Id. at 15:14-33 (Claim 1) (emphasis

added). The revision plate of Claim 1 includes a vertebral anchoring mechanism, an armature

(with a cooperative interlocking portion), where the cooperative interlocking portion must be

configured to engage an interlocking portion of a cervical plate, and it must be configured such

that it initially engages the interlocking portion of the pre-positioned cervical plate from above.

See id. All of these are examples of specialized features that allow this particular type of

cervical plate (a revision cervical plate), to connect to another cervical plate.

       Stern’s proposed construction follows the teaching of the specification, and is consistent

with the usage and context of “revision cervical plate” in the claims. Thus, “revision cervical

plate” is properly construed as “a cervical plate with specialized features for connecting to

another cervical plate.”

                       c)      Globus’ Answering Position

       Plain and ordinary meaning.

       Defendant’s position on “revision cervical plate” is the easier to define because Plaintiff’s

Opening Position, Section VI.8.b), pp. 48-49, is replete with references to “revision.” Plaintiff

uses the term “revision” in its constructions for “interlocking portion” and “cooperative

interlocking portion,” and more importantly, it is the core of his “invention.” Specifically, the

‘895 Patent specification notes as follows:

              Although the figures and following discussion will provide a detailed
       description of a number of exemplary embodiments of the cervical plate system of



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       the current invention, it should be understood that any number of designs can be
       used to achieve the basic goal of the system. For example, in their basic form each
       of the exemplary plating systems include an existing plate and a revision plate
       each designed to be anchored to a vertebral bone through a vertebral anchoring
       means, such as, a connecting screw. A characteristic feature of this plate system is
       that each of the revision plates includes an interlocking portion that provides a
       linkage between the plates.

D.I. 39, Exhibit A - ‘895 Patent, Col. 4, line 61-Col. 5, line 9 (emphasis added)

               Regardless of the ultimate design, both the original and the revision plates
       of the current invention are constructed as an integrated plate system such that the
       interlocking portion of the revision plate cooperates with the base interlocking
       portion of the original plate. These interlocking portions have coordinating
       surfaces that lock the two plates together and provide torsional stability to and
       between the plates in at least one dimension that is independent of the connecting
       screws.

D.I. 39, Exhibit A - ‘895 Patent, Col. 5, lines 30-37 (emphasis added)


       Plaintiff’s attempt, once again, to rewrite the asserted claims, this time to remove the

basic concept of “revision” and to replace it with a definition that includes any cervical plate, is

incorrect.

       The asserted claims are directed to revision surgery. By removing “revision” from

“revision surgical plate,” Plaintiff explicitly walks away from the core of his “invention.”

       The term “revision cervical plate” is exactly what it says and no additions or subtractions

are necessary or warranted. It is clear, unambiguous and in comport with the entirety of the ‘895

Patent specification and the asserted claims. “Revision cervical plate” take it plain and ordinary

meaning.

                       d)     Stern’s Reply Position

       Defendant yet again fails to offer a proposed construction, instead arguing for an

unspecified “plain and ordinary meaning.” Even more troubling is that fact that Defendant

specifically identified this term as needing construction. However, rather than construe the term,



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Defendant offers no assistance to the jury, and now argues that this term does not even need

construction.

       Stern’s construction is consistent with the use of this phrase in the patent. The revision

cervical plate is the “new” plate that is attached to the “prior” plate. “The current invention is

directed to an improved anterior cervical plate that allows a new plate to be attached to the

prior plate, so that the old plate does not have to be removed.” `895 Patent (D.I. 39, Ex. A) at

1:59-61 (emphasis added); see also 4:61-64 (“The current invention is directed to an improved

revisable anterior cervical plate system that allows for a new plate to be attached and

integrated into the prior plate, such that the old plate does not have to be removed during a

revision surgery.”) (emphasis added).

       The patent describes specifically how it is that the “new” plate can be attached to the

existing plate. The “new” or “revision” plate contains specialized features for connecting to

another plate, such as an arm or armature. The revision plate generally includes a “cooperative

interlocking portion,” the mating part that attaches to a mating part on an existing cervical plate

(the “interlocking portion”).

       Defendant appears to argue that a revision plate is simply a revision plate, and therefore

needs no construction. Defendant even appears to chastise Stern for not including “revision” in

his construction. However, this circular logic ignores what defines a revision plate and

differentiates it from any other cervical plate: the specialized features for connecting to another

plate. Even the portion of the specification cited by Defendant supports Stern’s construction.

For example, Defendant cites to the `895 Patent at col. 4, line 61-col. 5, line 9, which discusses

existing plates and revision plates, and notes that the characteristic feature is that the revision

plate includes an interlocking portion that provides a linkage between plates. In other words, the




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revision plate is a cervical plate with specialized features for connecting to another cervical plate,

namely an existing plate. The cited portion at col. 5, lines 30-37 is similar. It describes that the

“interlocking portion” of the revision plate cooperates with the “base interlocking portion” of the

original plate. Again, the revision plate must have specialized features that allow it to connect to

another plate.

       Defendant also incorrectly argues that Stern’s construction applies to “any” cervical

plate. Stern’s construction specifically requires that a revision plate is a cervical plate with

specialized features for connecting to another cervical plate – the very thing that makes it a

revision plate and not a standard cervical plate. Stern’s construction is accurate and consistent

with the patent, and is the proper construction of “revision cervical plate.”

                        e)      Globus’ Sur-Reply Position

       Plain and ordinary meaning.

       Of all of Plaintiff’s positions, the one it takes on “revision” is the most egregious.

Plaintiff seeks to change what it states is a fundamental characteristic of its invention, in favor of

nothing more than cervical plate to plate connections. Cervical plates with “specialized features”

to connect to another cervical plate were cited en masse in prosecution. To combat this, Plaintiff

routinely made the distinction that these types of cervical plates were not designed for revision

surgery. For example, Plaintiff states as follows:

               The Examiner rejected claims 1 to 4, 4, 7, 9 to 12, 14, 15, 17, 18 and 20
       under 35 USC § 102(e) as anticipated by Butler et al. (US Pub. No.
       2005/0137597). Applicant respectfully requests reconsideration of this rejection
       in light of the newly amended claims. In particular, newly amended independent
       claims 1 and 20 of the instant invention recite, in relevant part, that the plate
       system must include a structure wherein:

                 at least one revision cervical plate defining a revision plate body
                 having upper and lower horizontal faces, wherein at least a portion
                 of the lower horizontal face is configured to be disposed adjacent a



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             second vertebral body, at least a second vertebral anchoring
             mechanism configured to attach to the second vertebral body, and
             at least one armature extending from the revision plate, the at least
             one armature having a cooperative interlocking portion disposed
             thereon;
      and,

             wherein the engagement between the pre-positioned and revision
             cervical plates is initially formed by positioning the at least one
             armature of the revision cervical plate above the upper horizontal
             face of the pre-positioned cervical plate and moving at least a
             portion of the revision plate in the direction of the second vertebral
             body, and wherein the cooperative interlocking portion of the
             revision cervical plate is configured such that when engaged to the
             interlocking portion of the pre-positioned cervical plate a portion
             of the at least one armature is positioned atop a portion of the
             upper horizontal face of the pre-positioned cervical plate.

              As shown in the figures from Butler reproduced below, these claim terms
      are not demonstrated in the embodiments provided by that prior art publication.
      In particular, as shown, the plates are either interconnected from the side inward
      toward the pre-positioned plate (Figs. 11 and 14), or are created by two-piece
      revision plates where the lower face is not configured to be positioned adjacent a
      vertebral body (Fig. 19).




      These differences are, in turn, directly related to the different purpose for which
      the Butler plates are designed. In particular, the plates described in the Butler
      publication are not designed for use as revision plates, but rather are designed to
      allow for a “dynamizing” action between the components of the cervical plate.
      (Butler, Abstract) As a result, Butler is not concerned with the complications that
      would arise in attempting to interconnect the elements of a plate that has been pre-
      positioned with a new revision plate.

See Joint Appendix, Exhibit O, ‘556 Patent File History, Response to Office Action dated
5/20/2014, pp. 23-24 (emphasis added).


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       By seeking to remove “revision” from “revision cervical plate,” Plaintiff further walks

away from the fact that by definition, a “revision cervical plate” is implanted as part of a revision

surgery, well after a pre-positioned cervical plate has been implanted.

       Revision cervical plate takes its plain and ordinary meaning.



               9.      Term: “latch”

                       a)      Location in Claims

       ‘895 Patent: Claims 5, 20

                       b)      Stern’s Opening Position

       “a protruding part”

       The term “latch” is not used in the specification of the patents-in-suit. The claims

describe a “cooperatively interlocking latch” formed on a portion of the armature. From this

context, and the figures, such as Figs. 7C-7F of the ‘895 Patent, the latch is a part protruding

from the arm that connects with the mating part of the groove to engage or fasten the plates

together.




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‘895 Patent (D.I. 39, Ex. A) at Figs. 7A-7F. The “latch” is “cooperatively interlocking” meaning

that it connects to another part. That part is a channel or groove (depicted as element 76 in the

figures above). The “latch” is therefore a protruding part of the arm. See id. This is consistent

with the dictionary definition of latch, which defines it as “any of various devices in which

mating mechanical parts engage to fasten but usually not to lock something.” See “latch,”

Merriam-Webster.com. Accessed April 7, 2017. http://www.merriam-

webster.com/dictionary/latch. Stern’s proposed construction of “latch” is consistent with both

intrinsic and extrinsic evidence, and thus “latch” should be construed to mean “a protruding

part.”




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       Stern’s proposed constructions follow the teachings of the patents-in-suit, including the

specification, which is the single best guide to determining the meaning of the claims. Stern’s

proposed constructions are consistent with the intrinsic evidence, and where applicable the

extrinsic evidence, and will properly aid the jury in determining the meaning of the claims. For

these reasons, and those stated more fully above, Stern’s proposed constructions should be

adopted.

                       c)     Globus’ Answering Position

       Plain and ordinary meaning.

       Plaintiff admits in its Opening Position that the term latch is not used, described or

identified in the ‘895 Patent specification. Plaintiff’s attempt to give latch a meaning that is not

its plain and ordinary meaning, but rather is derived from whole cloth is unsupported. Plaintiff’s

statement in his Opening Position, Section VI.9.b), p. 55, that tethers his construction to “…the

dictionary definition of latch, which defines it as ‘any of various devices in which mating

mechanical parts engage to fasten but usually no lock something” is directly counter to the

asserted claims and the ‘895 Patent specification. As succinctly noted in Defendant’s positon on

“interlocking portion,” “cooperative interlocking portion” and the evidence cited in support, the

claims call for “the original and the revision plates of the current invention are constructed as an

integrated plate system such that the interlocking portion of the revision plate cooperates with the

base interlocking portion of the original plate. These interlocking portions have coordinating

surfaces that lock the two plates together and provide torsional stability to and between the plates

in at least one dimension that is independent of the connecting screws.” D.I. 39, Exhibit A, ‘895

Patent, Col. 5, lines 30-37. “A protruding part” does not comport with a “latch” or the

requirements of “locking.”




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       “Latch” takes its plain and ordinary meaning.

                       d)      Stern’s Reply Position

       This is another term for which Defendant requested construction, but now claims that

construction is not necessary, and instead the jury should be allowed to impart whatever meaning

they like. As noted previously, delegating such legal determination to the jury is improper.

Defendant offers no construction, and no insight into what it believes is the plain and ordinary

meaning.

       In contrast, Stern offers a construction that is not only consistent with the patent, but also

consistent with the dictionary definition, meaning to the extent one exists, Stern’s construction is

likely the closest thing to a “plain and ordinary” meaning.

       While arguing for a plain and ordinary meaning, Defendant argues that the dictionary

definition is not correct, calling into question what meaning jurors would ascribe to this term.

The cited figures of the patent disclose a part protruding from the arm that connects with a

mating part in a groove. The dictionary definition describes a latch quite broadly: “any of

various devices in which mating mechanical parts engage to fasten but usually not to lock

something.” The dictionary is using the traditional connotation imparted to lock, as restricting

all movement, distinguishing “lock” from “fasten.” As both parties have pointed out, “lock” as

used in the patent does not mean to restrict all movement, but instead to restrict movement in one

direction, or “to provide torsional stability in at least one direction.” In view of the usage in the

patent, including the claims and the figures, as well as the corroborating dictionary definition,

latch is properly construed as “a protruding part.”

                       e)      Globus’ Sur-Reply Position

       Plain and ordinary meaning.




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         The core issue with latch is that as Plaintiff admits, it is nowhere to be found in the

specification. In common use, a latch is not as Plaintiff suggests. Rather, a latch is understood

as noted in The American Heritage Dictionary of the English Language, a preferred source of

extrinsic evidence, as follows:

         1. A fastening, as for a door or gate, typically consisting of a bar that fits into a notch or
         slot and is lifted from either side by a lever or string. 2. A spring lock, as for a door, that
         is opened from the outside by a key. v. latched, latch∙ing, latch∙es – tr. To close or
         lock with or as if with a latch.

Joint Appendix, Exhibit P, The American Heritage Dictionary of the English Language, Fourth
Edition, (emphasis added).

         In retrospect, although the plain and ordinary meaning holds, considering the issue

presented in claim construction and in view of the use of latch in the asserted claims as a whole,

if a construction is necessary consideration should be given to the extrinsic evidence noted

above.




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Dated: June 23, 2017                       Respectfully submitted,


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